                   Case 4:07-cr-00228-WTM-GRS Document 247 Filed 10/01/08 Page 1 of 7
AO 245B (Rev 12/03) Judgment in a Criminal Case
         Sheet I



                                     United States District Court
                                                  SOUTHERN DiSTRICT OF GEORGIA
                                                       SAVANNAH DIVISION

          UNITED STATES OF AMERICA                                          JUDGMENT iN A CRIMINAL CASE
                      V.
                   Ronald Johnson                                            Case Number:              CR407-00228-009

                                                                             USM Number:               59333-0 19

                                                                             R. Brandon Galloway
                                                                             Defendant's Attorney

THE DEFENDANT:
[XJ       pleaded guilty to Count j...........
          pleaded nob contendere to Count(s) - which was accepted
          by the court.
          was found guilty on Count(s) after a plea of not guilty.

The defendant has been convicted of the following offense:


           Title & Section               Nature of Offense                                          Offense Ended                Count

                                         Conspiracy to make, possess, and utter                         July 2007
           18 U.S.C. § 371               counterfeit securities of the United States and
                                         corporate organizations
       The defendant is sentenced as provided in pages 2 through ofthis judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

   1      The defendant has been found not guilty on count(s)_.
[X]       Count 8 is dismissed as to this defendant on the motion of the United States.


          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                                  September 29, 2008
                                                                                  Date Imposition of Judgment


                                                                                  Signature of Judge

                                                                                  William T. Moore, Jr.
                                                                                  Chief Judge, U. S. District Court
                                                                                  Name and Title of Judge

                                                                                         2e / zoa b
                                                                                  Date
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AC) 245B (Rev 12/03) Judgment in a Criminal Case:                                                      Judgment-Page 2 of 7
        Sheet 2 - Imprisonment

DEFENDANT: Ronald Johnson
CASE NUMBER: CR407-00228-009

                                                    I k I 1 [•AE! I k1 I
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of: 27 months

[X]       The Court makes the following recommendations to the Bureau of Prisons: Designation to the Bureau of
          Prisons facility nearest to Atlanta, Georgia, is recommended.


[X]       The defendant is remanded to the custody of the United States Marshal.
[]        The defendant shall surrender to the United States Marshal for this district:

          [1 at            [1 a.rn. [1 p.m. on ______
          [ ] as notified by the United States Marshal.

[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          [ ] before 2 p.m. on ______
          [ ] as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office.
                                                         RETURN
          I have executed this judgment as follows:




          Defendant delivered on                             to
at                                                      with a certified copy of this judgment.




                                                                                          United States Marshal


                                                                                 By
                                                                                       Deputy United States Marshal
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A0 245l (Rev 12/03) Judgment in a Criminal Case                                                                                           JudgmentPage 3 of 7
         Sheet 3 - Supervised Release

DEFENDANT: Ronald Johnson
CASE NUMBER: CR407-00228-009
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

[1        The above drug testing condition is suspended, based on the Court's determination that the defendant poses a low risk of future substance abuse.
           (Check, if applicable.)

Lx'       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[X]       The defendant shall cooperate in the collection of DNA as directed by the probation otficer. (Check, if applicable.)

1]        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
          directed by the probation officer. (Check, if applicable.)

[1        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this judgment imposes a tine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;

2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;

3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4)        the defendant shall support his or her dependents and meet other family responsibilities;

5)        the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer;
I 0)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission
          of the court;
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the defendant's compliance
          with such notification requirement; and

14)       Any possession, use, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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A0 24513 (Rev 12/03) Judgment in a Criminal Case:                                                     Judgment-Page 4 of 7
         Sheet 3C - Supervised Release

DEFENDANT: Ronald Johnson
CASE NUMBER: CR407-00228-009



                                            SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
          determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
          abuse.
2.        The defendant shall complete 150 hours of community service during the first 18 months of supervision.

3.        The defendant shall provide the probation officer with access to any requested financial information. The
          defendant shall not incur new credit charges or open additional lines of credit without the approval of the
          probation officer unless the defendant is in compliance with the installment payment schedule.

                                                     ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


     (Signed)
                     Defendant                                         Date




                     U. S. Probation Officer/Designated Witness        Date
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AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                                            Judgment-Page 5 of 7
       Sheet 5 - Criminal Monetary Penalties

DEFENDANT: Ronald Johnson
CASE NUMBER: CR407-00228-009
                                               CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                           Assessment                     Fine                     Restitution

 Totals                                                            $100                                            $29,200.58

    The determination of restitution is deferred until       . An Amended Judgment in a Criminal Case (AO 245C) will be entered after
        such a determination.

[XI The defendant must make restitution (including community restitution) to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
         victims must be paid before the United States is paid.


             Name of Payee                         Total Loss*            Restitution Ordered                     Priority or Percentage
Arrington Industries                                                              $3,681.91                                12.7%
(Arrington's Convenience Store
and Gordon's Package Shop II)
1798 Warrenton Highway
Thomson, Georgia 30824
706-595-5448
Dinglewood Party Shop                                                               $681.07                                2.3%
1520 Wynnton Road
Columlus, Georgia 31906
706-322-2389
Joe's Package Shop                                                                $5,758.88                                19.7%
Attn: Jimmy Fuller
2501 West Bay Street
Savannah, Georgia 31415
912-232-4526
                                                   "' See Additional Restitution Payees - page 6
          Restitution amount ordered pursuant to plea agreement              $ ______

[X] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. § 3612(t). All ofthe payment options on Sheet 6 may be subject
        to penalties for delinquency and default pursuant to 18 U.S.C. § 36 12(g).
  I     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    The interest requirement is waived for the      [ ] fine       [ ] restitution.
                    The interest requirement for the    [ J fine       [ I restitution  is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, IIOA and I 13A of Title 18 for offenses committed on or after
September 13, 1994, hut before April 23, 1996.
                  Case 4:07-cr-00228-WTM-GRS Document 247 Filed 10/01/08 Page 6 of 7
AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                               Judgment-Page 6 of 7
        Sheet 5B - Criminal Monetary Penalties

DEFENDANT: Ronald Johnson
CASE NUMBER: CR407-00228-009
                          ADDITIONAL RESTITUTION PAYEES

                                                                                                               Priority or
 Name of Payee                                               Total Loss*     Restitution Ordered               Percentage
 McDuffie Package Store                                                            $3,970.90                     13.7%
 Attn: Chris Smith
 639 Augusta Highway
 Thomson, Georgia 30824
 706-595-6443

 Money Back #4                                                                      $681.07                       2.3%
 Attn: Paul Crewal
 517 Hamilton Road
 Lagrange, Georgia 30241
 706-882-4597
 R&S Liquors                                                                        $5,502.75                     18.8%
 1411 L. Street
 Brunswick, Georgia 31520
 912-261-2823
 T & A Foodmart
 Attn: Mike Patel                                                                   $1,899.14                     6.5%
 112 Ashford Trace Lane
 Macon, Georgia 31210
 478-335-1602
 Wall To Wall Package Shop
 Attn: Keith Wall                                                                   $5,662.72                     19.4%
 1410 Washington Road
 Thomson, Georgia 30824
 706-595-9255
 Wal-Mart #1311                                                                     $681.07                       2.3%
 Attn: Store Manager
 5448 B Whittlesey Boulevard
 Columbus, Georgia 31909
 706-322-8801
 Wal-Mart #1338                                                                     $681.07                        2.3%
 Attn: Store Manager
 4701 Buena Vista Road
 Columbus, Georgia 31907
 706-568-3222
                                                   Totals:                         $29,200.58


        * Findings for the total amount of losses are required under Chapters 109A, 110, 1 bA, and 1 13A of Title 18 for offenses
committed on or after September 13, 1994 but before April 23, 1996.
                  Case 4:07-cr-00228-WTM-GRS Document 247 Filed 10/01/08 Page 7 of 7
AO 245B (Rev 12/03) Judgment in a Criminal Case:                                                                              Judgment-Page 7 of 7
         Sheet 6 - Criminal Monetary Penalties

DEFENDANT: Ronald Johnson
CASE NUMBER: CR407-00228-009
                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [X] Lump sum payment of $ 100 due immediately, balance due

               not later than _; or
           [XI in accordance with [ I C, [ D, [ I E, or [XI F below; or

B [ I Payment to begin immediately (may be combined with [ I C, [ I D, or [ I F below); or

C[]       Payment in equal (e.g., weekly, monthly, quarterly) installments ofjover a period of_ (e.g., months or years), to commence
          _(e.g., 30 or6O days) after the date of this judgment; or

D[]       Payment in equal - (e.g., weekly, monthly, quarterly) installments of Lover a period of_ (e.g., months or years), to commence
          _(e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [ ] Payment during the term of supervised release will commence within          (eg., 30 or 60 days) after release from imprisonment.
         the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F [X] Special instructions regarding the payment of criminal monetary penalties: Pursuant to iS U.S.C. § 3664(f)(3)(B), nominal
        payments of either quarterly installments of a minimum of $25 if working non-IJN1COR or a minimum of 50 percent of monthly
        earnings ifworking UNICOR shall be made. Upon release from imprisonment and while on supervised release, nominal payments
        of a minimum of$200 per month shall be made. Payments are to be made payable to the Clerk, United States District Court,
        for disbursement to the victims.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[XI       Joint and Several
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
             Amount, and corresponding payee, if appropriate:

              An Amended Judgment and Commitment Order will be entered in this case after all convicted codefendants have been
              sentenced so as to address with precision the extent to which restitution will be paid jointly and severally.



   I      The defendant shall pay the cost of prosecution.

   I      The defendant shall pay the following court cost(s):


          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs.
